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AO 442 (Rev. 11/11) Arrest Warrant

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UNITED STATES DISTRICT COURT

 

for the
District of Columbia
United States of America
v. Case: 1:23-mj-22
DUSTIN SARGENT Assigned To: Magistrate Judge Zia M. Faruqui
Assign. Date: 1/23/2023
Description: Complaint with Arrest Warrant
)
Defendant
ARREST WARRANT

To: | Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) DUSTIN SARGENT :
who is accused of an offense or violation based on the following document filed with the court:

© Indictment  Superseding Indictment O Information © Superseding Information MM Complaint
© Probation Violation Petition O Supervised Release Violation Petition OViolation Notice © Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 1752(a)(1) - Entering and Remaining in a Restricted Building or Grounds,

18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds,

18 U.S.C. § 1752(a)(4) - Engaging in Physical Violence in a Restricted Building or Grounds,

40 U.S.C. § 5104(e)(2)(D) - Disorderly or Disruptive Conduct in the Capito] Grounds or Buildings,

40 U.S.C. § 5104(c)(2)(F) - Act of Physical Violence in the Capitol Grounds or Buildings,

40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building, 2023 0 ] . 2 3
18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement during Civil Disorder,

18 U.S.C. § 111(a)(1) - Assaulting, Resisting, or Impeding Certain Officers,

 

 

 

 

18 U.S.C. §§ 1512(c)(2) and 2 - Obstruction of an Official Proceeding and Aiding and Abetting. 1 7 3 4:0 7
! 1
Date: 1/23/2023 -05 00
Issuing officer's signature
City and state: Washington, D.C. Zia M. Faruqui, U.S. Magistrate Judge
Printed name and title
Return

 

This warrant was received on (date) _Q) ] 23] 23 , and the person was arrested on (date) 62 | Ol | 23
at (city and state) KU NKUTOWN PAL Cn ‘Spy Aut)

Date: o2{oi)23

 

: Arresting Officer’s, ignatre

Tro ERG VE Jt

Printed name and title

 

 

 
